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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

  EDWARD MACAULEY,                   )
                                     )
         Petitioner,                 )
                                     )
              v.                     )        1:11cr199
                                     )        1:13cv1403
                                     )
  UNITED STATES OF AMERICA,          )
                                     )
         Respondent.                 )

                   M E M O R A N D U M    O P I N I O N

            This matter is before the Court on Petitioner Edward

Macauley’s (“Petitioner”) Motion to Vacate, Set Aside, or

Correct Sentence, pursuant to 28 U.S.C. § 2255.          [Dkt. 321.]

For the following reasons, the Court will deny Petitioner’s

motion.

                              I. Background

            On January 17, 2012, Petitioner appeared before this

Court and pled guilty to one count of conspiracy to import

heroin in violation of 21 U.S.C. § 963.        (Plea Mins. [Dkt. 157]

at 1.)    Petitioner simultaneously entered a plea agreement

wherein the Government agreed to drop several other charges in

exchange for Petitioner’s full cooperation.         (Plea Agreement

[Dkt. 158] at 1, 6.)     The plea agreement contained, among other

terms, the following provision:



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           This   written   agreement   constitutes   the
           complete plea agreement between the United
           States, the defendant, and the defendant’s
           counsel.   The defendant and the defendant’s
           attorney   acknowledge    that   no   threats,
           promises, or representations have been made,
           nor agreements reached, other than those set
           forth in writing in this plea agreement, to
           cause the defendant to plead guilty.

(Id. at 11-12.)    The agreement also informed Petitioner that any

subsequent motion to reduce his sentence pursuant to Rule 35(b)

of the Federal Rules of Criminal Procedure would be at the

Government’s sole discretion.       (Id. at 8.)

           During the ensuring plea colloquy, Petitioner

confirmed that he had been given ample opportunity to read over

the plea agreement and consult with his attorney.          The Court

also affirmed that this plea agreement represented the entire

bargain between the parties.       The Court then reviewed with

Petitioner the constitutional rights he was forfeiting by

pleading guilty along with the facts alleged in the indictment.

At the conclusion of the hearing, the Court found Petitioner’s

plea knowing and voluntary.      (Plea Mins. at 1.)

           On April 6, 2012, the Court sentenced Petitioner to

168 months incarceration along with five years’ supervised

release.   (Sentencing Mins. [Dkt. 247] at 1.)        Petitioner did

not appeal.



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           Petitioner then filed the instant motion on November

4, 2013, seeking to overturn his conviction.         (Mot. to Vacate at

7.)   Liberally construed, Petitioner’s motion asserts the

following grounds for relief: (1) the Government breached its

oral promise to file a sentence reduction motion under Rule 35;

and (2) his extradition from Ghana was unlawful.          (Id. at 5.)

The merits of these allegations are addressed below.

                         II. Standard of Review

           A motion to vacate, set aside, or correct sentence

under 28 U.S.C. § 2255 allows a prisoner to challenge the

legality of his sentence on four grounds: (1) “the sentence was

imposed in violation of the Constitution or laws of the United

States”; (2) “the court was without jurisdiction to impose such

sentence”; (3) “the sentence was in excess of the maximum

authorized by law”; or (4) the sentence is “otherwise subject to

collateral attack.”     28 U.S.C. § 2255(a).      The petitioner bears

the burden of demonstrating his grounds for relief by a

preponderance of the evidence.       See Hall v. United States, 30 F.

Supp. 2d 883, 889 (E.D. Va. 1998).

           A § 2255 motion is, in essence, a statutory federal

habeas corpus action that collaterally attacks a sentence or

conviction through the filing of a new proceeding, as contrasted

with a direct appeal.     See In re Jones, 226 F.3d 328, 332–33

(4th Cir. 2000) (“‘[Section] 2255 was intended to afford federal

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prisoners a remedy identical in scope to federal habeas

corpus[.]’” (quoting Davis v. United States, 417 U.S. 333, 343

(1974))).    The existence of the right to pursue a collateral

attack, however, does not displace a direct appeal as the “usual

and customary method of correcting trial errors.”            United States

v. Allgood, 48 F. Supp. 2d 554, 558 (E.D. Va. 1999).

Consequently, claims regarding trial or sentencing errors that

could have been, but were not, raised on direct appeal are

procedurally barred from review under § 2255.         See Bousley v.

United States, 523 U.S. 614, 621-22 (1998).         “Where a defendant

has procedurally defaulted a claim by failing to raise it on

direct review, the claim may be raised in habeas only if the

defendant can first demonstrate either ‘cause’ and actual

‘prejudice,’ . . . or that he is ‘actually innocent.’”              Id. at

622 (citations omitted).

                              III. Analysis

     A. Timeliness

            In 1996, Congress enacted the Antiterrorism and

Effective Death Penalty Act (“AEDPA”).        Among other things,

AEDPA amended 28 U.S.C. § 2255 to include a one-year statute of

limitations.    See 28 U.S.C. § 2255(f).      This limitations period

starts to run from the latest of the following dates:

            (1) the date on which           the   judgment     of
            conviction becomes final;


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           (2) the date on which the impediment to
           making a motion created by governmental
           action in violation of the Constitution or
           laws of the United States is removed, if the
           movant was prevented from making a motion by
           such governmental action;

           (3) the date on which the right asserted was
           initially recognized by the Supreme Court,
           if that right has been newly recognized by
           the Supreme Court and made retroactively
           applicable to cases on collateral review; or

           (4) the date on which the facts supporting
           the claim or claims presented could have
           been discovered through the exercise of due
           diligence.

28 U.S.C. § 2255(f)(1)-(4).

           In this case, the Court entered judgment against

Petitioner on April 6, 2012, and he did not appeal.          (Judgment

[Dkt. 248] at 1.)     His conviction, therefore, became final

fourteen days later on April 20, 2012.        See United States v.

Ramey, Nos. 7:09CR00054, 7:13CV80603, 2014 WL 408332, at *2

(W.D. Va. Jan. 31, 2014) (“If the defendant does not appeal, his

conviction becomes final when his opportunity to appeal

expires[.]”).    Petitioner did not file the instant motion until

November 4, 2013, well over a year after his conviction became

final.   Thus, this action is untimely under § 2255(f)(1).          Id.

at *2.

           Nevertheless, Petitioner asserts that his motion is

timely due to “the government’s impediment where it promised to

file a Rule 35 motion . . . [but later] reneged on that

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promise[.]”    (Pet’r’s Mem. in Supp. [Dkt. 322] at 6.)         While not

entirely clear, Petitioner appears to assert that his claims

should be considered timely under § 2255(f)(2) because he

delayed filing this action in reliance on the Government’s

verbal promises.     (Id.)

           Petitioner’s argument, however, directly contradicts

statements made in his plea agreement and in open court.           The

plea agreement specifically denied that any other promises

existed between the parties, and further provided that there was

no obligation to make a reduction motion.         (Plea Agreement at 8,

11-12.)   During the plea hearing, Petitioner confirmed that he

had read and understood the plea agreement and that no one had

promised him anything outside of its terms.         Petitioner fails to

offer any compelling reason why the Court should disregard these

sworn statements.     See United States v. Lemaster, 403 F.3d 216,

221 (4th Cir. 2005) (“[A] defendant’s solemn declarations in

open court affirming [a plea] agreement . . . ‘carry a strong

presumption of verity’ . . . [and present] ‘a formidable barrier

in any subsequent collateral proceedings.’” (citation omitted)).

Because Petitioner’s timeliness argument relies on assertions

that directly controvert his plea agreement and prior testimony,

the Court finds his argument to be patently incredible and thus

insufficient to merit a belated commencement period under §

2255(f)(2).    See United States v. Scott, No. 2:04CR00009, 2010

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WL 1490361, at *6 (W.D. Va. Apr. 14, 2010) (denying similar

timeliness argument where it contradicted petitioner’s plea

agreement and sworn testimony).

           The remaining subsections of § 2255(f) also fail to

provide any relief.     See 28 U.S.C. § 2255(f)(3)-(4).        The

Supreme Court has not recognized a new rule of substantive law

retroactively applicable to cases on collateral review on the

basis asserted here.     And, no new facts supporting Petitioner’s

claims have been discovered.

           Finally, Petitioner has not submitted any grounds to

establish that he is entitled to equitable tolling.          Although

the limitations period under § 2255(f) may be tolled for

equitable reasons, this remedy is rarely applicable.           See, e.g.,

United States v. Prescott, 221 F.3d 686, 688 (4th Cir. 2000)

(applying equitable tolling to § 2255 motion).          To warrant

equitable tolling, the defendant must establish two elements:

“(1) that he has been pursuing his rights diligently, and (2)

that some extraordinary circumstances stood in his way.”

Lawrence v. Florida, 549 U.S. 327, 336 (2007) (citations and

internal quotation marks omitted).        Specifically, the defendant

must demonstrate how an exceptional circumstance “beyond his

control or external to his own conduct . . . prevented him from

filing on time.”     Rouse v. Lee, 339 F.3d. 238, 246 (4th Cir.

2003) (en banc).     Petitioner’s allegations simply do not show

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that he was diligent in seeking to vindicate his rights under §

2255 or that anything or anyone outside his control prevented

him from filing a timely motion.         Accordingly, Petitioner’s

motion is untimely under § 2255(f).

           Nevertheless, as discussed below, even setting aside

the issue of timeliness, Petitioner’s motion fails to state a

viable claim for relief.

      B. Rule 35 Motion

           Petitioner first claims that the Government has failed

to deliver on its promises to file a Rule 35 motion to reduce

his sentence.    (Mot. to Vacate at 5.)       According to Petitioner,

“government agents made oral promises to reward me with a

reduction in sentence by filing a Rule 35 motion” and this

pledge “has not been fulfilled.”         (Pet’r’s Aff. [Dkt. 322] at 1-

2.)

           Petitioner’s allegations are insufficient to trigger

review of the Government’s decision to withhold such a motion.

As this Court recently noted:

           A district court has no authority to review
           the government’s refusal to file a Rule
           35(b) motion unless that decision was based
           [on] an unconstitutional motive, such as the
           defendant’s race or religion.    See Wade v.
           United States, 504 U.S. 181, 185–86 (1992);
           United states v. Butler, 272 F.3d 683, 686
           (4th Cir. 2001); United States v. Anderson,
           2012 WL 6021322, at *7 (E.D. Va. Dec. 3,
           2012).   To trigger such review, a defendant
           must make a “substantial threshold showing”

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            of improper motives by the Government.
            United States v. Saquella, 2012 WL 405060,
            at *3 (E.D. Va. Feb. 7, 2012) (internal
            citations omitted).    Accordingly, “a claim
            that a defendant merely provided substantial
            assistance will not entitle a defendant to a
            remedy   or   even   to   discovery   or  an
            evidentiary hearing.”     Wade, 504 U.S. at
            186–87.

McLean v. United States, Nos. 1:08cr175 (JCC), 1:12cv1145, 2013

WL 1450559, at *2 (E.D. Va. Apr. 9, 2013).

            Given Petitioner has “never alleged, much less claimed

to have evidence tending to show, that the Government refused to

file a motion for suspect reasons such as [his] race or [his]

religion,” Wade, 504 U.S. at 186, but rather argues that he is

entitled to a Rule 35(b) motion based on oral promises and his

assistance, Petitioner’s claim facially lacks merit.           See United

States v. Baokye, Nos. 1:11cr455 (JCC), 1:12cv1226, 2013 WL

2458623, at *2 (E.D. Va. June 6, 2013) (denying habeas claim

based on the government’s refusal to file a Rule 35 motion where

petitioner failed “to meet the threshold showing of improper

motive”).

            Moreover, Petitioner’s claim is nearly identical to

the arguments rejected in United States v. Anderson, Nos.

1:11cr231, 1:12cv1168, 2012 WL 6021322 (E.D. Va. Dec. 3, 2012).

In Anderson, the petitioner asserted error related to the

government’s failure to move for a sentence reduction under Rule

35(b).   Id. at *6-7.    In rejecting this position, the court

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noted that the plea agreement at issue gave the government sole

discretion to move for a reduction in sentence, and “[u]nder

Fourth Circuit precedent, if a plea agreement gives the

government ‘sole discretion’ to decide whether a downward

departure is appropriate, it ‘give[s] rise to no enforceable

promise’ because it ‘explicitly reserv[es] discretion rather

than promising anything.’”       Id. at *6 (citing United States v.

Wallace, 22 F.3d 84, 87 (4th Cir. 1994)).         The court then went

on to state:

            Should [petitioner] seek to argue that the
            “promise” of a Rule 35(b) motion was made
            outside the written plea agreement, that
            argument     is    contradicted    by    his
            acknowledgment, made under the penalty of
            perjury during the Rule 11 plea colloquy,
            that there were no other agreements or
            understandings between him and any law
            enforcement official or prosecutor regarding
            the case.

            Accordingly,   there   is    no  basis   for
            [petitioner’s] claim that the government
            breached the plea agreement when it did not
            move for a downward departure or sentence
            reduction, as the plea agreement included no
            promise that it would do so.

Id. at *7 (citations omitted).       The same rationale is applicable

here, and thus Petitioner’s claim cannot stand.

      C. Petitioner’s Extradition

            Petitioner next asserts that his extradition from

Ghana was illegal and thus the guilty plea cannot stand.            (Mot.

to Vacate at 5.)     This claim is similarly meritless.

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            First, this claim is procedurally defaulted because

Petitioner could have, but neglected to, raise this point on

direct appeal.     See United States v. Baumgardner, No.

1:08CR00024–041, 2013 WL 4598066, at *2 (W.D. Va. Aug. 29, 2013)

(finding petitioner’s argument procedurally defaulted where

“[h]e failed to raise his claim at trial or on appeal and offers

no reason that he could not have done so”).          Petitioner’s motion

is devoid of any viable argument regarding cause and prejudice

to excuse the default.      Likewise, Petitioner has made no

colorable showing that he is actually innocent of the underlying

criminal charges.     Accordingly, this claim must be denied.         See

Antwi v. United States, 349 F. Supp. 2d 663, 669 (S.D.N.Y. 2004)

(finding petitioner’s extradition claim procedurally barred

where he failed to raise it on direct appeal).

            Moreover, the manner in which Petitioner was brought

to the United States is irrelevant to his guilty plea and

sentencing.    Even if Petitioner was forcibly removed to the

United States, this would not affect the Court’s jurisdiction

over his prosecution.      See United States v. White, 480 F. App’x

193, 194 (4th Cir. 2012) (“The manner through which a defendant

found himself within the United States generally does not affect

the jurisdiction of the district court to preside over his

prosecution.”); see also United States v. Arbane, 446 F.3d 1223,

1225 (11th Cir. 2006) (“[A] criminal defendant cannot defeat

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personal jurisdiction by asserting the illegality of the

procurement of his presence in the relevant jurisdiction—here,

the United States.”).

                              IV. Conclusion

            For the foregoing reasons, the Court will deny

Petitioner’s motion. 1     An appropriate order will issue.



                                             /s/
February 21, 2014                         James C. Cacheris
Alexandria, Virginia            UNITED STATES DISTRICT COURT JUDGE




1
   Along with his motion to vacate, Petitioner also filed a motion “for the
production of files and records under Rule 6.” [Dkt. 323.] In light of the
rulings above, the Court will deny this motion as moot.

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